






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00270-CR






Mike Palacios, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT

NO. D-1-DC-09-206640, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Mike Palacios has filed a pro se notice of appeal from his conviction for
the offense of driving while intoxicated.  The district court has certified that this is a plea-bargain
case, the defendant has no right of appeal, and the defendant has waived the right of appeal.  See
Tex.&nbsp;R. App. P. 25.2(a)(2), (d).  Accordingly, we dismiss the appeal.


						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop

Dismissed

Filed:   July 9, 2010

Do Not Publish


